Case 1:09-cv-01317-GTS-RFT Document 1-4 Filed 11/25/09 Page 1 of 1

CIVIL COVER SHEET

@JS 44 (Rev. 12/07)

The JS 44 civil cover sheet and the information contained herein neither replace nor su
by local rules of cout. This form, approved by the Judicial Conference of the United
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

plement the filing and service of pleadings or other papers as re
tates in September 1974, is required for the use of the Clerk of

quired by law, except as provided

ourt for the purpose of mitiating

I, (a) PLAINTIFFS DEFENDANTS

SUSAN SALVO

(b) County of Residence of First Listed Plaintiff Saratoga
(EXCEPT IN U.S. PLAINTIFF CASES)

LAND I

(c) Attorney’s (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Towne, Bartkowski & DeFio Kean, P.C.
450 New Karner Road

County of Residence of First Listed Defendant

SCHENECTADY CITY SCHOOL DISTRICT

Schenectady

ON US. PLAINTIFF CASES ONLY)

NVOLVED.

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

Kal_
Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) ILL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
M11 US. Government Wi 3 Federal Question PTF DEF PTF DEF
Plamtiff (U.S. Government Not a Party) Citizen of This State O 1 & 1 Incorporated or Princrpal Place o4 04
of Business In This State
2 U.S. Government 4 Diversity Citizen of Another State 1 2 © 2 Incorporated and Principal Place os 5
Defendant (Indicate Citizenship of Parties in Item IIT) of Business In Another State
Citizen or Subject ofa O 3 © 3. Foreign Nation o6 6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT. : TORTS FORFEITURE/PENALTY 4. BANKRUPICY. OTHER STATUTES
Ch 110 Insurance PERSONAL INJURY PERSONAL INJURY =| 610 Agriculture (1 422 Appeal 28 USC 158 CO 400 State Reapportionment
CF 120 Marine 310 Airplane [ 362 Personal Injury - O 620 Other Food & Drug 423 Withdrawal CF 410 Antitrust
C7 130 Miller Act O 315 Airplane Product Med, Malpractice | 11 625 Drug Related Seizure 28 USC 157 CF 430 Banks and Banking
1 140 Negotiable Instrument Liability CF 365 Personal Injury - of Property 21 USC 881 C) 450 Commerce
(1 150 Recovery of Overpayment JT 320 Assault, Libet & Product Liability 0) 630 Liquor Laws <PROPERTY RIGUE JO) 460 Deportation
& Enforcement of Judgment Slander (1 368 Asbestos Personal O 640R.R. & Truck 1 820 Copyright C! 470 Racketeer Influenced and
(1 151 Medicare Act CO) 330 Federal Employers’ Injury Product 0 656 Airline Regs. 830 Patent Corrupt Organizations
CI 152 Recovery of Defaulted Liability Liability 1 660 Occupational O 840 Trademark O 480 Consumer Credit
Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health. C1 490 Cable/Sat TV
(Exel. Veterans) ( 345 Marine Product O 370 Other Fraud 1 690 Other C1 810 Selective Service
M 153 Recovery of Overpayinent Liability O 371 Truth in Lending : : LABOR i ( L (1 850 Securities/Commodities/
of Veteran’s Benefits { 350 Motor Vehicle f 380 Other Personal OF 710 Fair Labor Standards (OF 861 HIA (1395ff) Exchange
1 160 Stockholders’ Suits O 355 Motor Vehicle Property Damage Act ( 862 Black Lung (923) 875 Customer Challenge
1 190 Other Contract Product Liability {385 Property Damage {1 720 Labor/Memt. Relations [0 863 DIWC/DIWW (405(2)) 12 USC 3410
Cl 195 Contract Product Liability | 360 Other Personal Product Liability 0 730 Labor/Memt.Reporting (J 864 SSID Title XVI 1 890 Other Statutory Actions
O 196 Franchi Injury & Disclosure Act C)_865 RSI (405(g)) OF 891 Agricultural Acts
‘REAL PROPERT TSPRISONER PETITIONS: | C740 Railway Labor Act Ee PEDERAL TAX SUIES -] 01) 892 Economic Stabilization Act
210 Land Condemnation O 441 Voting I) 510 Motions to Vacate | 790 Other Labor Litigation C1 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
C1 220 Foreclosure & 442 Employment Sentence (1 791 Empl. Ret. Inc. or Defendant) CF 894 Energy Allocation Act
(1 230 Rent Lease & Ejectment |C 443 Housing/ Habeas Corpus: Security Act CO 871 IRS—Third Party (F895 Freedom of Information
(1 240 Torts to Land Accommodations i 530 General 26 USC 7609 Act
7 245 Tort Product Liability O 444 Welfare (1 535 Death Penalty pene PMG) ONG (1 900Appeal of Fee Determination
CF 290 All Other Real Property | 445 Amer. w/Disabilities- [0 540 Mandarvus & Other [f7 462 Naturalization Application Under Equal Access
Employment [ 550 Civil Rights (1 463 Habeas Corpus - to Justice
Cl] 446 Amer. w/Disabilities - [[7 555 Prison Condition Alien Detainee O 950 Constitutionality of
Other (1 465 Other Immigration State Statutes
O 440 Other Civil Rights Actions

V. ORIGIN (Place an “X” in One Box Only) Appeal to District
S&1° Original Cl 2 Removed from J 3. Remanded from Ol 4 Reinstated or (1 4 Transferred fr ‘ 6 Multidisirict 7 fudge from
Proceeding State Court Appellate Court Reopened (spec fy ) iste Litigation hacen

HG SICS Section

unger yypich you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:
Employment related disability claim

VIL REQUESTED IN [ CHECK IF THIS 18 A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 75,000.00 JURY DEMAND: Yes No
VII. RELATED CASE(S) See
IF ANY (See instructions): UD GE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
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FOR DFFIGE USE ONLY vf

RECEIPT # AMOUNT APPLYING IFP JUDGE

MAG. JUDGE

